     Case 2:10-cv-00103-DLH-CRH Document 78 Filed 04/17/13 Page 1 of 18




                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NORTH DAKOTA
                          NORTHEASTERN DIVISION

ANDREW MURRAY, PETER                      )    Case 2:10-cv-00103-RRE-KKK
MURRAY, TIM CHAPMAN,                      )
RUAN GOUWS, HUGH BARRON,                  )
RAYMOND OWEN, MORNE VIVIERS,              )
DORIN BUTNARIU, and                       )
ANDRE MARNEWECK, individually             )
and on behalf of all similarly situated   )
persons,                                  )      AMENDED COMPLAINT
                                          )
                                          )
                    Plaintiffs.           )   1. Violation of 29 U.S.C. §§ 201-219
                                          )   2. Violation of N.D.C.C. § 34-06-05
vs.                                       )   3. Violation of 18 U.S.C. § 1589
                                          )   4. Breach of Contract
                                          )
ALTENDORF TRANSPORT, INC.                 )
            d.b.a.                        )
     Altendorf Harvesting                 )      DEMAND FOR JURY TRIAL
            and                           )
JANICE MARIE ALTENDORF,                   )
         individually,                    )
                                          )
                    Defendants.           )

         Plaintiffs ANDREW MURRAY, PETER MURRAY, TIM CHAPMAN, RUAN

GOUWS, HUGH BARRON, RAYMOND OWEN, MORNE VIVIERS, DORIN

BUTNARIU, and ANDRE MARNEWECK individually and on behalf of all similarly

situated persons, allege as follows:

                                  SUMMARY OF ACTION

1.       Named Plaintiffs, ANDREW MURRAY, PETER MURRAY, TIM CHAPMAN,

RUAN GOUWS, HUGH BARRON, RAYMOND OWEN, MORNE VIVIERS, DORIN

BUTNARIU, and ANDRE MARNEWECK bring this action individually and on behalf

of all similarly situated persons who have been employed as commercial combine




                                          1
     Case 2:10-cv-00103-DLH-CRH Document 78 Filed 04/17/13 Page 2 of 18




operators, grain-cart operators, truck drivers, and equipment mechanics by Defendants

ALTENDORF HARVESTING and JANICE MARIE ALTENDORF for violations of

federal and state wage and hour laws, state contract law, and state law prohibiting

employers from paying employees less than minimum wage and from withholding

overtime compensation.

                                JURISDICTION AND VENUE

2.       This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §

1331, because the controversy arises under “the constitution, laws or treaties of the

United States.” Specifically, the claim arises under the Fair Labor Standards Act of 1938,

29 U.S.C. §§ 201 et seq. (“FLSA”) and 18 U.S.C. § 1589, the Trafficking Victims

Protection Act ("TVPA").

3.       This Court, similarly, has diversity jurisdiction over this action pursuant to 28

U.S.C. § 1332(a)(2), as the controversy is between “citizens of a State and citizens or

subjects of a foreign state.”

4.       Venue is proper in the District of North Dakota pursuant to 28 U.S.C. § 1319(b)

because a substantial part of the acts, events, or omissions giving rise to the action

occurred in this District, and Defendants are either public entities, citizens or political

subdivisions, and/or departments/divisions or officials thereof located within this District.

                                         PARTIES

5.       Plaintiffs ANDREW MURRAY, PETER MURRAY, TIM CHAPMAN, RUAN

GOUWS, HUGH BARRON, RAYMOND OWEN, MORNE VIVIERS, DORIN

BUTNARIU, and ANDRE MARNEWECK (“Plaintiffs”) are and were, at all times

relevant herein, citizens and residents of foreign countries who have worked for




                                              2
     Case 2:10-cv-00103-DLH-CRH Document 78 Filed 04/17/13 Page 3 of 18




Defendants in the United Sunder the auspices of H-2A visas. Specifically, Plaintiffs Peter

and Andrew Murray, Gouws, Viviers, and Marneweck are citizens and residents of South

Africa; Plaintiffs Chapman, Barron, and Owen are citizens and residents of New Zealand;

and Plaintiff Butnariu is a citizen and resident of Romania.

6.        Defendant ALTENDORF TRANSPORT, INC., d.b.a. Altendorf Harvesting, is a

North Dakota corporation with its principal place of business in Minto, North Dakota. At

all times relevant to this action, Defendant’s employees were engaged in commerce

within the meaning of 29 U.S.C. § 207(a) and as defined in 29 U.S.C. §§ 203(d) and

203(f).

7.        Plaintiffs are informed and believe and herein allege that Defendant JANICE

MARIE ALTENDORF was a principal, agent, or employer that authorized, approved, or

ratified the conduct alleged herein, and she proximately caused Plaintiffs’ injuries and

damages. In this capacity, Defendant JANICE MARIE ALTENDORF possessed the

power to control Plaintiffs and all similarly situated persons during their employment

with Altendorf Harvesting and is, therefore, as defined in 29 U.S.C. § 203(d), an

“employer” subject to personal liability under the FLSA.

8.        At all times relevant to this Complaint, Defendants herein willfully committed,

conspired, ordered, directed, supervised, allowed, planned, concealed, organized, or

otherwise participated in one or more of the acts alleged.

9.        Plaintiffs herein file this action on behalf of themselves and on behalf of other

Altendorf Harvesting employees or former Altendorf Harvesting employees who are

similarly situated.

                               GENERAL ALLEGATIONS




                                              3
  Case 2:10-cv-00103-DLH-CRH Document 78 Filed 04/17/13 Page 4 of 18




10.    At all relevant times herein, Defendants employed Plaintiffs and similarly situated

persons as commercial custom harvesters.

11.    Defendants employed Plaintiffs and similarly situated persons at Altendorf

Harvesting based in Minto, North Dakota under relevant documents as required by the

United States Department of Labor, including Employment and Training Administration

Forms 750 A & B and Form 790, all of which provide requirements for straight time and

overtime compensation when necessary [in addition to other certain conditions of

employment, which represent enforceable employment contracts under CFR].

12.    Defendants, as part of their common business practice, routinely apply for and

obtain employees from South Africa, New Zealand, Romania, and a number of other

countries through the federal H-2A guestworker visa program under 8 U.S.C. §

1101(a)(15)(H)(ii)(a). For instance, on or about January 7, 2008, Defendant or

Defendant’s agent signed a United States Department of Labor “Application for Alien

Employment” for 60 unnamed aliens certifying the availability of 40 hours of work a

week at a basic rate of $9.55 per hour. As regulated by the Wage and Hour Division of

the United States Department of Labor (“DOL”), employers “must pay all covered

workers at least the highest of the following applicable wage rates in effect at the time the

work is performed: the adverse effect wage rate (“AEWR”), the applicable prevailing

wage, the agreed-upon collective bargaining rate, or the Federal or State statutory

minimum wage.”

13.    Plaintiffs and similarly situated persons entered into employment contracts with

Defendant Altendorf Harvesting, stating Plaintiffs would work set hours per week.




                                             4
  Case 2:10-cv-00103-DLH-CRH Document 78 Filed 04/17/13 Page 5 of 18




14.       Defendants ultimately required Plaintiffs and similarly situated persons to work

many hours a week beyond the number of hours stated in their contracts and at a rate

below the AEWR.

15.       Throughout their employment with Defendants, Plaintiffs and all similarly

situated persons have performed activities, performed duties, and spent time that

constitutes time worked, for which Defendants were obligated to compensate Plaintiffs

and all similarly situated persons at their regular, premium, or overtime rate under the

FLSA, North Dakota state law, and under the terms of their employment contracts.

16.       In contravention of the terms of their contracts and in violation of the FLSA and

North Dakota state law, Defendants have failed and/or refused to properly compensate

Plaintiffs and all similarly situated persons for all hours worked.

17.       Defendants suffered or permitted Plaintiffs and all similarly situated persons to

work uncompensated straight-time and overtime by performing the activities alleged

herein.

18.       Defendants knew or should have known that Plaintiffs and all similarly situated

persons were performing their required duties while working for wages below the amount

agreed to in their employment contracts and required by DOL requirements in regard to

H2-A visa standards.

19.       Defendants knew of, should have known of, or showed reckless disregard for their

obligations to properly compensate Plaintiffs and all similarly situated persons under the

FLSA, North Dakota state law, and under the terms of their employment contracts.

20.       Defendants received the benefit of the work performed by Plaintiffs and all

similarly situated persons without properly compensating them for such actual hours of




                                              5
  Case 2:10-cv-00103-DLH-CRH Document 78 Filed 04/17/13 Page 6 of 18




work in violation of the FLSA, North Dakota state law, and the terms of their

employment contracts, including mandatory contractual provisions imposed by 20 C.F.R.

§ 655.102(b)(14).

21.    Defendants violated FLSA since Plaintiffs were paid less than the federal

minimum wage and denied overtime compensation according to 29 U.S.C. §§ 201-219.

22.    Additionally, Defendants are liable for breach of contract because they failed to

compensate Plaintiffs and all similarly situated persons according to the terms of the

employment contracts, including mandatory contractual provisions imposed by 20 C.F.R.

§ 655.102(b)(14), and agreed to by Plaintiffs and Defendants.

23.    Defendants violated N.D.C.C. § 34-06-05 by paying “[e]mployees for wages

which are less than the state minimum wage.”

24.    Defendants violated the Trafficking Victims Protection Act (“TVPA”), 18 U.S.C.

§ 1581 et seq., by “obtaining the labor or services of” Plaintiffs and all similarly situated

persons “by means of serious harm or threats of serious harm” – including financial and

reputational harm in the form of threatened termination and a refusal to cover legitimate

travel costs – which compelled Plaintiffs and all similarly situated persons “to continue to

perform labor or service[,]” thereby giving rise to a civil action against Defendants

pursuant to 18 U.S.C. § 1595.

      INDIVIDUAL FLSA ACTION DESIGNATION AND ALLEGATIONS

25.    Plaintiffs bring their claims individually under the FLSA to recover from

Defendants compensation earned but unpaid, including overtime compensation,

liquidated damages, attorneys fees and costs, and any other recovery authorized under the

FLSA, 29 U.S.C. §§ 201-219.




                                             6
  Case 2:10-cv-00103-DLH-CRH Document 78 Filed 04/17/13 Page 7 of 18




              CLASS ACTION DESIGNATION AND ALLEGATIONS

26.    Plaintiffs bring this action on their own behalf and as a representative party on

behalf of all similarly situated persons, pursuant to Federal Rules of Civil Procedure,

Rule 23(b). Plaintiffs seek class certification of the non-FLSA claims pled in this

Complaint under Rule 23 of the Federal Rules of Civil Procedure for all the reasons

previously stated and that will be stated elsewhere in this Complaint.

27.    Plaintiffs are members of the class that consists of all Altendorf Harvesting

employees who have been employed by Defendants within the three years prior to

October 28, 2010.

28.    Plaintiffs do not know the exact size of the class. However, based on the nature of

Defendants’ practice and procedures, the widespread unlawful practices of Defendants,

Plaintiffs believe that the class number is approximately 250. Joinder of all such persons

is impracticable, such that the disposition of their claims in a class action rather than in

individual actions will benefit the parties and the Court due to the fact that all class

members are foreign nationals.

29.    The class members of this action are ascertainable through objective

characteristics and common transactional facts as alleged herein. The class consists of all

current, former, and future custom harvesters of Altendorf Harvesting employed by

Defendants.

30.    Plaintiffs’ claims are typical of the claims of the class members, in that

Defendants’ policy and practice as alleged herein, and the resulting deprivation of

Plaintiffs’ rights to earned compensation, are common to the class.




                                             7
  Case 2:10-cv-00103-DLH-CRH Document 78 Filed 04/17/13 Page 8 of 18




31.     Plaintiffs are qualified to, and will, fairly and adequately protect the interest of

each class member. Plaintiffs have no interest that is adverse to the interests of the other

class members.

32.     Class action adjudication is superior to other available methods because class

action will achieve economies of time, effort, and expense as compared to separate

lawsuits, and avoid inconsistent outcomes, because the same issues can be adjudicated in

the same manner for the entire class.

33.     In adopting and implementing the policies, practices and procedures alleged

herein, Defendants have acted or refused to act on grounds generally applicable to the

Class, thereby making appropriate final injunctive relief or declaratory relief with respect

to the Class as a whole.

34.     Public policy considerations support class action adjudication of the claims

herein. Courts have long recognized that wage and hours laws concern not only the health

and welfare of the workers themselves, but also the public health and general welfare.

The North Dakota Legislature’s decision to criminalize certain employer violations of the

regular and overtime wage laws under N.D.C.C. § 34-06-05 reflects a determination that

the conduct affects a broad public interest. A fair number of employers throughout the

United States, as well as North Dakota, violate wage and hour laws every day.

Employees are often afraid to assert their rights out of fear of direct or indirect retaliation.

Former employees are hesitant to bring actions because they fear their former employers

can damage their future endeavors through negative references and other means. The

same public policy goals have also led Congress to enact laws against human trafficking,




                                               8
  Case 2:10-cv-00103-DLH-CRH Document 78 Filed 04/17/13 Page 9 of 18




including the TVPA. Class action provides the class members who are not named in the

complaint with a type of anonymity that still allows for the vindication of their rights.

            EQUITABLE TOLLING OF STATUTE OF LIMITATIONS

35.    Defendants have represented to Plaintiffs and all similarly situated persons that

the terms of their employment contracts are fair, just, and legal. Plaintiffs and all

similarly situated persons have reasonably relied on these representations based on the

confidence and trust of their employment relationship with Defendants. Despite due

diligence in investigating and seeking proper compensation, Plaintiffs and all similarly

situated persons have been unable to obtain information vital to exposing the right to the

claims asserted herein. Plaintiffs’ status as foreign nationals and relative unfamiliarity

with the laws of the United States further diminish their ability to assert their legal rights

against Defendants. Therefore, equitable tolling is justified because Plaintiffs and all

similarly situated persons were excusably ignorant of the accrual of their claims.

                              FIRST CLAIM FOR RELIEF

                       WILLFUL VIOLATIONS OF § 207(a) OF

                        THE FAIR LABOR STANDARDS ACT

36.    Plaintiffs reassert and reallege paragraphs 1 through 36, inclusive, as if fully set

forth herein and incorporate those paragraphs herein by reference.

37.    Defendants have either recklessly or knowingly and intentionally failed to provide

Plaintiffs earned wages at both straight-time and overtime rates as required by the FLSA.

38.    In conducting themselves in this unlawful manner, Defendants deprived Plaintiffs

of their rights, privileges and immunities provided by federal law clearly setting forth that

they are entitled to be paid at the rate of time-and-a-half for all overtime hours worked




                                              9
 Case 2:10-cv-00103-DLH-CRH Document 78 Filed 04/17/13 Page 10 of 18




and otherwise at straight-time rates. Defendants knew, or should have known, that their

reckless or willful failure to pay overtime to Plaintiffs violates these rights, privileges,

and immunities.

39.    Defendants have either recklessly or knowingly and intentionally failed to

compensate Plaintiffs for wages earned in a particular work period by the regular pay day

for the period in which the work ended.

40.    Defendants have delayed or refused payment of overtime and unpaid straight-time

wages for a period longer than is reasonably necessary for them to compute and arrange

for payments of the amounts due. Defendants knew or should have known that Plaintiffs

were also working overtime in non-exempt jobs, but did not provide sufficient overtime

compensation. Notwithstanding such knowledge, Defendants have failed to pay Plaintiffs

for overtime hours worked in a timely manner as required under the FLSA.

41.    Regardless of whether Defendants are aware of the law regarding payment of

hours covered by the FLSA, Defendants routinely failed to compensate Plaintiffs for

earned wages in a timely manner.

42.    Defendants have deprived Plaintiffs of their rights, privileges, and immunities

secured to them by federal law which clearly provides that Plaintiffs are entitled to be

paid for all worked hours, both straight-time and overtime, in a workweek by the regular

pay day for the period in which such workweek ends. Defendants knew or should have

known that their reckless or knowing and intentional failure and refusal to compensate

Plaintiffs for all overtime hours they actually worked in a timely manner violates these

rights, privileges, and immunities.




                                            10
 Case 2:10-cv-00103-DLH-CRH Document 78 Filed 04/17/13 Page 11 of 18




43.    As a direct and proximate result of Defendants’ actions and/or inactions, Plaintiffs

have been damaged, and are entitled to compensatory and/or liquidated damages in an

amount according to proof including, but not limited to, a sum equivalent to and in

addition to their compensation which was not paid or paid late for the years preceding

this suit until the conclusion of this present action as required by 29 U.S.C. § 216(b), plus

attorney fees and costs and any and all other relief this Court finds just and proper.

                            SECOND CLAIM FOR RELIEF

                         VIOLATIONS OF NORTH DAKOTA

                      CENTURY CODE §§ 34-06-05 and 34-06-22

44.    Plaintiffs reassert and reallege paragraphs 1 through 43, inclusive, as if fully set

forth and incorporate those paragraphs herein by reference.

45.    Defendants’ conduct as alleged herein constitutes a violation of N.D.C.C. § 34-

06-05, prohibiting employers from paying employee wages which are less than the state

minimum wage.

46.    North Dakota law provides for a private right of action to recover wages which

are less than the state minimum wage.

                             THIRD CLAIM FOR RELIEF

      VIOLATION OF THE TRAFFICKING VICTIMS PROTECTION ACT

47.    Plaintiffs reassert and reallege paragraph 1 through 46, inclusive, as if fully set

forth and incorporate those paragraphs herein by reference.

48.    Defendants violated the TVPA, codified at 18 U.S.C. § 1589, which prohibits

“obtaining the labor or services of any person . . . by means of serious harm or threats of




                                             11
 Case 2:10-cv-00103-DLH-CRH Document 78 Filed 04/17/13 Page 12 of 18




serious harm[,]” including financial and reputational harm. This civil action and recovery

of damages and reasonable attorneys fees are, therefore, proper under 18 U.S.C. § 1595.

49.    Specifically, Defendants were required to reimburse Plaintiffs and all similarly

situated persons for all travel costs following the expiration of the employment contract.

Defendants have made a practice of firing, or threatening to fire, employees shortly

before the expiration of their contracts, thereby imposing or threatening to impose

thousands of dollars of costs upon Plaintiffs and all similarly situated persons.

50.    In so doing, Defendant threatened Plaintiffs and all similarly situated persons with

serious financial harm, compelling Plaintiffs and all similarly situated persons to continue

performing labor or services in order to avoid incurring this harm.

                            FOURTH CLAIM FOR RELIEF

                               BREACH OF CONTRACT

51.    Plaintiffs reassert and reallege paragraphs 1 through 50, inclusive, as if fully set

forth and incorporate those paragraphs herein by reference.

52.    As stated above, the employment contracts entered into between Defendant

Altendorf Harvesting and Plaintiffs and all similarly situated persons contained

provisions dealing with both hour and wage specifications. The employment contracts of

the named Plaintiffs, which are typical of the contracts signed by all similarly situated

persons, read as follows:

       ANDREW MURRAY AND PETER MURRAY:

       “HOURS OF WORK: Employee agrees to work 48 hours per week.
       Employer may request additional hours worked throughout the week.

       RATE AND SCHEDULE OF PAY: Employee agrees to submit timesheet
       daily. Employer agrees to pay $2,300.00 monthly until July 15, 2008.
       Employer agrees to increase salary to $2,400.00 monthly on July 16, 2008.



                                             12
Case 2:10-cv-00103-DLH-CRH Document 78 Filed 04/17/13 Page 13 of 18




    Employer agrees to pay and additional $100.00 for each month the
    employe[e] possesses a CDL license. No bonus will be paid. Employer
    agrees to pay twice monthly accompanied by record of days or hours
    worked.”

    TIM CHAPMAN:

    "HOURS OF WORK: Employee agrees to work an average of 48 hours
    per week. Employer may request additional hours worked throughout
    week.

    RATE AND SCHEDULE OF PAY: Employee agrees to submit timesheet
    daily and pertinent paperwork completed. Employer agrees to pay an
    average wage of from startup of $2,400.00 per month base pay until
    harvest ends. Employer agrees to pay an additional $100.00 per month for
    each month the employee possesses a valid CDL license. During the
    harvest, for each month that paperwork is done correctly and on time there
    will be an additional $100.00 paid for that month. No bonuses will be
    paid. Employer agrees to pay twice monthly accompanied by record of
    days or hours worked. You will be given a payroll schedule."

    RUAN GOUWS:

    "HOURS OF WORK: Employee agrees to work 40 hours per week.
    Employer may request additional hours worked throughout week."

    "RATE AND SCHEDULE OF PAY: An adverse wage rate has been
    averaged over the different states we will be working in compiled into a
    monthly guarantee to give workers the consistency of monies during travel
    and downtime. Employee agrees to submit timesheet daily. Employer
    agrees to pay $2,300.00 per month until end of contract. This is based
    on the highest AEWR and above some of the state AEWR but has been
    averaged out at 60 hrs @ week from start up till employee is dismissed.
    This piece rate has been established to stay in compliance with DOL and
    also to give each worker financial stability each month.

    Upon receiving time cards employer will furnish to the employee one or
    more written statements showing: 1. Employee's total earnings for the pay
    period, 2. The piece rate for that time period. 3. The total earnings for the
    ytd. 4. The employee's net pay. 5. An itemization of all deductions made
    from the employee's wages. 7. The employer's name, address and IRS ID
    number." (emphasis in original)

    HUGH BARRON:




                                         13
Case 2:10-cv-00103-DLH-CRH Document 78 Filed 04/17/13 Page 14 of 18




    "HOURS OF WORK: Employee agrees to work an average of 48 hours
    per week. Employer may request additional hours worked throughout
    week.

    "RATE AND SCHEDULE OF PAY: Employee agrees to submit
    timesheet daily and pertinent paperwork completed. Employer agrees to
    pay a commission of 20% of the gross proceeds for each load not to fall
    below the agreed hourly wage of $10.00 per hour for the Months of March
    and April. Starting May 1 until December 31 or whenever harvest ends
    Employer agrees to pay employee $3,200.00 per month or $106.66 per day
    until contract is terminated. No bonuses will be paid. Employer agrees to
    pay twice monthly accompanied by record of days or hours worked. You
    will be given a payroll schedule."

    RAYMOND OWEN:

    "HOURS OF WORK: Employee agrees to work an average of 48 hours
    per week. Employer may request additional hours worked throughout
    week.

    RATE AND SCHEDULE OF PAY: Employee agrees to submit timesheet
    daily and pertinent paperwork completed. Employer agrees to pay an
    average wage of from startup of $2,400.00 per month base pay until
    harvest ends. Employer agrees to pay an additional $100.00 per month for
    each month the employee possesses a valid CDL license. During the
    harvest, for each month that paperwork is done correctly and on time there
    will be an additional $100.00 paid for that month. No bonuses will be
    paid. Employer agrees to pay twice monthly accompanied by record of
    days or hours worked. You will be given a payroll schedule."

    MORNE VIVIERS:

    "HOURS OF WORK: Employee agrees to work an average of 48 hours
    per week. Employer may request additional hours worked throughout
    week.

    RATE AND SCHEDULE OF PAY: Employee agrees to submit timesheet
    daily and pertinent paperwork completed. Employer agrees to pay an
    average of from startup of $2,400.00 per month base pay until harvest
    ends. Employer agrees to pay an additional $100.00 per month for each
    month the employee possesses a valid CDL license. During the harvest,
    for each month that paperwork is done correctly and on time there will be
    an additional $100.00 paid for that month. No bonuses will be paid.
    Employer agrees to pay twice monthly accompanied by record of days or
    hours worked. You will be given a payroll schedule."




                                       14
 Case 2:10-cv-00103-DLH-CRH Document 78 Filed 04/17/13 Page 15 of 18




       DORIN BUTNARIU:

       "HOURS OF WORK: Employee agrees to work 48 hours per week.
       Employer may request additional hours worked throughout week.

       RATE AND SCHEDULE OF PAY: Employee agrees to submit timesheet
       daily. Employer agrees to pay $2,300.00 monthly until July 15, 2008.
       Employer agrees to increase salary to $2,400.00 monthly on July 16, 2008.
       Employer agrees to pay an additional $100.00 for each month the
       employe[e] possess a CDL license. No bonus will be paid. Employer
       agrees to pay twice monthly accompanied by record of days or hours
       worked."

       ANDRE MARNEWECK:

       "HOURS OF WORK: Employee agrees to work an average of 48 hours
       per week. Employer may request additional hours worked throughout
       week.

       RATE AND SCHEDULE OF PAY: Employee agrees to submit timesheet
       daily and pertinent paperwork completed. Employer agrees to pay an
       average wage of from startup of $2,600.00 per month les base pay till July
       28, 2009. Employer agrees to pay an additional $200.00 per month as of
       July 28, 2009. [] During the harvest, for each month that paperwork is
       done correctly and on time there will be an additional $100.00 paid for
       that month. No bonuses will be paid. Employer agrees to pay twice
       monthly accompanied by record of days or hours worked. You will be
       given a payroll schedule."

53.    Plaintiffs and all similarly situated persons were not paid for all hours worked in

accordance with the terms of their contracts, including mandatory contractual provisions

imposed by 20 C.F.R. § 655.102(b)(14) and other applicable federal regulations, and/or

were required to work additional hours beyond the hours per week specified in the

contract for which they were not properly paid. Plaintiffs and all similarly situated

persons, as employees under the aforementioned employment contracts, are entitled to

the benefits and protection of federal law and regulation, North Dakota state law, and all

other applicable employment laws.




                                           15
 Case 2:10-cv-00103-DLH-CRH Document 78 Filed 04/17/13 Page 16 of 18




54.       Plaintiffs and all similarly situated persons have suffered and continue to suffer

substantial losses related to the use and enjoyment of such wages, lost interest on such

wages, and expense and attorney's fees in seeking to compel Defendants to fully perform

its obligations as required by the employment contracts, including mandatory contractual

provisions imposed by 20 C.F.R. § 655.102(b)(14) and North Dakota state law, all to the

respective damage of Plaintiffs and all similarly situated persons in amounts according to

proof at the time of trial, but in amounts in excess of the minimum jurisdiction of this

Court.

                                  PRAYER FOR RELIEF

WHEREFORE, Plaintiffs/class members pray for judgment as follows:

           As to the First Claim for Relief for Violation of 29 U.S.C. §§ 207(a):

1.        For an order granting Plaintiffs the right to facilitate notice informing other

current and former employees of Defendants who are similarly situated of the right to

join this action by filing a written consent to become a Plaintiff in this action maintained

by the named Plaintiffs under 29 U.S.C. § 216(b).

2.        All actual, consequential, liquidated and incidental losses and damages, including

unpaid straight-time and overtime compensation according to proof at trial;

3.        Such other damages as may be allowed in accordance with 29 U.S.C. § 216(b)

according to proof at trial;

4.        Liquidated damages, attorneys fees, and cost pursuant to 29 U.S.C. § 216(b);

5.        Prejudgment interest; and

6.        Any and all other relief, including equitable relief, as the Court may deem just and

proper.




                                              16
 Case 2:10-cv-00103-DLH-CRH Document 78 Filed 04/17/13 Page 17 of 18




          As to the Second Claim for Relief for Violation of N.D.C.C. §§ 34-06-05:

7.        All general unpaid wages at the regular and overtime rates, and such general and

special damages as may be appropriate;

8.        Pre-judgment interest at the annual legal rate on any unpaid wages due from the

day such amounts were due; and

9.        Any and all other relief, including equitable relief, as the Court may deem just and

proper.

             As to the Third Claim for Relief for Violation of 18 U.S.C. § 1589:

10.       Any and all economic losses;

11.       Any and all non-economic losses; and

12.       Any and all other relief, including statutory attorney's fees under 18 U.S.C. §

1595 and equitable relief, as the Court may deem just and proper.

                 As to the Fourth Claim for Relief for Breach of Contract:

13.       Any and all actual damages according to proof;

14.       Any and all consequential damages according to proof;

15.       Any and all liquidated damages according to proof;

16.       Any and all incidental damages according to proof;

17.       All costs and attorney's fees; and

18.       Any and all other relief, including equitable relief, as the Court may deem just and

proper.

                                  Class action certification:

19. Plaintiffs seek class action certification of their second, third, and fourth claims for

relief.




                                               17
 Case 2:10-cv-00103-DLH-CRH Document 78 Filed 04/17/13 Page 18 of 18




Respectfully submitted this 17th day of April, 2013.


                                                       By:/s/ Mac Schneider
                                                       Mac Schneider
                                                       ND ID # 06476
                                                       Schneider, Schneider, & Schneider
                                                       815 Third Avenue South
                                                       Fargo, ND 58103
                                                       (701) 235-4481




                                            18
